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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

 DESIREE MCCOY,

                 Plaintiff,

         vs.                                            CIV. NO. 2:20-cv-01043-KRS

 KILOLO KIJAKAZI,
 Acting Commissioner of
 Social Security,

                 Defendant.

                                             ORDER

        Upon consideration of Defendant’s Second Unopposed Motion for Extension of Time to

File Response Brief (Doc. 29), the Court, having reviewed the motion and being otherwise fully

advised, FINDS that the motion is well taken and is GRANTED.

        IT IS THEREFORE ORDERED that Defendant has until November 26, 2021, to file a

response brief or otherwise respond to Plaintiff’s brief, and Plaintiff has until December 10,

2021, to file a reply, if any.




                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE

SUBMITTED AND APPROVED BY:

Filed Electronically 10/27/21
STEVEN W. MARTYN
Special Assistant United States Attorney

Electronically Approved 10/27/21
KATHERINE HARTUNG O’NEAL
Attorney for Plaintiff
